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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Northern Division

JENNIFER BELCHER                                      *

                  Plaintiff                           *

v.                                                    *      Civil Action No. _______________

WAL-MART STORES EAST, LP                              *

                  Defendant                           *

*      *          *      *      *      *      *       *      *       *      *       *       *

                        NOTICE OF REMOVAL OF CIVIL ACTION
                      AND STATEMENT OF GROUNDS FOR REMOVAL

To Plaintiff and Her Attorney of Record:

       Please take notice that Defendant Wal-Mart Stores East, LP (“Walmart”) named in the civil

action filed in the Circuit Court for Dorchester County, Maryland, Case Number C-09-CV-19-

000253 (“the State Case”), hereby notes the removal of this action to the United States District

Court for the District of Maryland, Northern Division. In support thereof, Walmart states the

following:

       1.         On or about August 13, 2020, Walmart was served with a Complaint, Writ of

Summons, and a Civil Non-Domestic Case Information Report, attached hereto and identified as

Exhibits 1 - 3.

       2.         Plaintiff’s Complaint is based upon an allegations of negligence and premises

liability for Plaintiff Jennifer Belcher’s alleged personal injury at Walmart Store #2272 located in

Cambridge, Dorchester County, Maryland.

       3.         Plaintiff seeks monetary damages in excess of Seventy-Five Thousand Dollars

($75,000) for her negligence claim. See Complaint, Ex. 1.

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       4.      Plaintiff is a resident of the State of Maryland. See Complaint, Ex. 1.

       5.      Defendant Wal-Mart Stores East, LP is limited partnership formed under the laws

of the State of Delaware and maintains its principal place of business in the State of Arkansas.

       6.      The germane section of 28 U.S.C. §1332(a) provides:

                           (a) The district courts shall have original
                           jurisdiction of all civil actions where the matter
                           in controversy exceeds the sum or value of
                           $75,000, exclusive of interest and costs, and is
                           between –
                               (1)     citizens of different States;

       7.      Removal to the United States District Court for the District of Maryland, Northern

Division, is appropriate in this civil action based on diversity of citizenship pursuant to 28 U.S.C.

§1332(a).

       8.      Diversity of citizenship is present in this civil action as Plaintiff’s Complaint seeks

damages in excess of Seventy Five Thousand Dollars ($75,000.00), and is between citizens of

different States. Id.

       9.      Pursuant to 28 U.S.C. §1441(b)(2), no defendant is a citizen of the State of

Maryland.

       10.     Walmart reserves its right to amend this Notice of Removal.

       11.     Walmart reserves all defenses, including, without limitation, the defense of lack of

personal jurisdiction.

       12.     As required by 28 U.S.C. §1446(a) and Local Rule 103(5)(a), true and legible

copies of all process, pleadings, and documents served upon Walmart in the State Case that is

being removed, as of this date, are being filed with this Notice of Removal as Exhibits 1 - 3.




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       WHEREFORE, Defendant Wal-Mart Stores East, LP respectfully requests that this civil

action be removed to the United States District Court for the District of Maryland, Northern

Division based on diversity of citizenship pursuant to 28 U.S.C. 1332(a).

                                              Respectfully Submitted,

                                              MCNAMEE, HOSEA, JERNIGAN, KIM
                                              GREENAN & LYNCH, P.A.


                                              /s/ Jennifer M. Alexander
                                              Jennifer M. Alexander, Esquire
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                                              Attorneys for Defendant

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of September 2020, I caused a true and correct copy of
the foregoing Notice of Removal of Civil Action and Statement of Grounds for Removal to be
served via first class mail, postage prepaid upon:

       Justin A. Wallace, Esquire
       Law Office of Justin A. Wallace
       3635 Old Court Road, Suite 201-A
       Pikesville, Maryland 21208
       Attorneys for Plaintiff
                                              /s/ Jennifer M. Alexander
                                              Jennifer M. Alexander, Esquire

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